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                                     UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF NORTH CAROLINA

IN RE:
   TONYA GAIL MCCRAE                                               CASE NO. 12-81181
   809 BEEBE DRIVE                                                 JUDGE WILLIAM L. STOCKS
   DURHAM, NC 27713

               DEBTOR

   SSN(1) XXX-XX-2577                                               DATE: 03/13/2013


                                            REPORT OF FILED CLAIMS


     Pursuant to 11 U.S.C. §704(5), the trustee has examined the proofs of claims filed in this case and objected to the
allowance of such claims as appeared to be improper except where no purpose would have been served by such
objection. After such examination and objections, if any, the trustee states that claims should be deemed allowed or “not
filed” as indicated below.

NAME & ADDRESS OF CREDITOR                                      AMOUNT        CLASSIFICATION
1ST NATIONAL CREDIT CARD                                             $0.00    UNSECURED
500 EAST 60TH STREET NORTH                                      INT: .00%     NOT FILED
SIOUX FALLS, SD 57104                                     NAME ID: 198829     ACCT: 2402
                                                            CLAIM #: 0015     COMMENT:
1ST NATIONAL CREDIT CARD                                             $0.00    UNSECURED
500 EAST 60TH STREET NORTH                                      INT: .00%     NOT FILED
SIOUX FALLS, SD 57104                                     NAME ID: 198829     ACCT: 8729
                                                            CLAIM #: 0022     COMMENT:
BANK OF AMERICA NA                               MONTHLY PMT $1,575.38        ONGOING DEBT
P O BOX 660933                                              INT: .00%
DALLAS, TX 75266                                      NAME ID: 227179         ACCT: 0111
                                                        CLAIM #: 0001         COMMENT: 1ST DEED/TRUST (RES)
BANK OF AMERICA NA                                               $31,089.82   ARREARS-MORTGAGES/MOBILE HOMES
P O BOX 660933                                                  INT: .00%
DALLAS, TX 75266                                          NAME ID: 227179     ACCT: 0111
                                                            CLAIM #: 0036     COMMENT: ARREARS/1ST DEED/TRUST
                                                                              (RES)
BROCK & SCOTT PLLC                                                   $0.00    NOTICES ONLY
SEAN M CORCORAN                                                 INT: .00%     NOT FILED
5121 PARKWAY PLAZA DR STE 300                             NAME ID: 105882     ACCT:
CHARLOTTE, NC 28217                                         CLAIM #: 0035     COMMENT: REP:BANK OF AMERICA, N.A.
CORTUSTCC                                                            $0.00    UNSECURED
PO BOX 5431                                                     INT: .00%     NOT FILED
SIOUX FALLS, SD 57117-5431                                NAME ID: 229584     ACCT: 0979
                                                            CLAIM #: 0016     COMMENT:
CREDIT FINANCIAL SERVICES**                                          $0.00    UNSECURED
POST OFFICE BOX 451                                             INT: .00%     NOT FILED
DURHAM, NC 27702-0451                                     NAME ID: 216587     ACCT:
                                                            CLAIM #: 0017     COMMENT:
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NAME & ADDRESS OF CREDITOR                               AMOUNT         CLASSIFICATION
CREDIT ONE BANK, N.A.**                                        $0.00    UNSECURED
POST OFFICE BOX 98873                                     INT: .00%     NOT FILED
LAS VEGAS, NV 89193-8873                            NAME ID: 234433     ACCT: 1682
                                                      CLAIM #: 0018     COMMENT:
DUKE UNIVERSITY HEALTH SYSTEM                                $570.70    UNSECURED
5213 S ALSTON AVE                                         INT: .00%
DURHAM, NC 27713                                    NAME ID: 112370     ACCT: 7297
                                                      CLAIM #: 0019     COMMENT:
DURHAM CITY/COUNTY TAX OFFICE                                  $0.00    SECURED
200 E MAIN STREET 1ST FLOOR                               INT: .00%     PAID OUTSIDE
P O BOX 3397                                          NAME ID: 635      ACCT: 4198
DURHAM, NC 27702                                      CLAIM #: 0003     COMMENT: 2012 Real Property: Pay Direct
DURHAM COUNTY REGISTER OF DEED                               $52.00     SPECIAL COST ITEM
COUNTY JUDICIAL BUILDING                                 INT: .00%
DURHAM, NC 27702                                     NAME ID: 3044      ACCT:
                                                     CLAIM #: 0037      COMMENT: RECORD NOTICE
DURHAM COUNTY TAX COLLECTOR                                    $0.00    PRIORITY
P.O.BOX 3397                                              INT: .00%     NOT FILED
DURHAM, NC 27702                                    NAME ID: 195882     ACCT:
                                                      CLAIM #: 0007     COMMENT:
DURHAM COUNTY TAX COLLECTOR                                    $0.00    PRIORITY
P.O.BOX 3397                                              INT: .00%     NOT FILED
DURHAM, NC 27702                                    NAME ID: 195882     ACCT:
                                                      CLAIM #: 0009     COMMENT:
DURHAM EMERGENCY PHYSICIANS **                                 $0.00    UNSECURED
P.O. BOX 15133                                            INT: .00%     NOT FILED
DURHAM, NC 27704-0133                               NAME ID: 185063     ACCT: 6310
                                                      CLAIM #: 0020     COMMENT:
EQUIFAX INFORMATION SYSTEMS LLC                                $0.00    NOTICES ONLY
P.O. BOX 740241                                           INT: .00%     NOT FILED
ATLANTA, GA 30374-0241                              NAME ID: 183808     ACCT:
                                                      CLAIM #: 0031     COMMENT:
EXPERIAN                                                       $0.00    NOTICES ONLY
P.O. BOX 2002                                             INT: .00%     NOT FILED
ALLEN, TX 75013-2002                                NAME ID: 226505     ACCT:
                                                      CLAIM #: 0032     COMMENT:
FIRST PREMIER BANK**                                           $0.00    UNSECURED
POST OFFICE BOX 5524                                      INT: .00%     NOT FILED
SIOUX FALLS, SD 57117-5524                          NAME ID: 217730     ACCT: 8729
                                                      CLAIM #: 0023     COMMENT:
HSBC BANK                                                      $0.00    UNSECURED
POST OFFICE BOX 5253                                      INT: .00%     NOT FILED
CAROL STREAM, IL 60197-5253                         NAME ID: 185687     ACCT: 3368
                                                      CLAIM #: 0024     COMMENT:
INTERNAL REVENUE SERVICE                                   $11,072.04   PRIORITY
CENTRALIZED INSOLVENCY OPERATIONS                         INT: .00%
P O BOX 7317                                          NAME ID: 400      ACCT: 2577
PHILADELPHIA, PA 19101-7317                           CLAIM #: 0010     COMMENT: 2010,2011 INCOME TAX
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NAME & ADDRESS OF CREDITOR                               AMOUNT        CLASSIFICATION
INTERNAL REVENUE SERVICE                                  $1,192.87    UNSECURED
CENTRALIZED INSOLVENCY OPERATIONS                        INT: .00%
P O BOX 7317                                          NAME ID: 400     ACCT: 2577
PHILADELPHIA, PA 19101-7317                          CLAIM #: 10010    COMMENT: 2007 INCOME/PENALTY
JEFFERSON CAPITAL SYSTEMS LLC                              $1,403.17   UNSECURED
P O BOX 953185                                            INT: .00%
ST LOUIS, MO 63195                                  NAME ID: 188679    ACCT: 2327
                                                      CLAIM #: 0029    COMMENT: WACHOVIA BANK CHECKING
LVNV FUNDING LLC                                               $0.00   UNSECURED
ATTN MANAGING AGENT                                       INT: .00%    NOT FILED
P O BOX 740281                                      NAME ID: 224356    ACCT: 5346
HOUSTON, TX 77274                                     CLAIM #: 0004    COMMENT: JUDGMENT
NC CHILD SUPPORT                                               $0.00   NOTICES ONLY
CENTRALIZED COLLECTIONS                                   INT: .00%    NOT FILED
POST OFFICE BOX 900020                              NAME ID: 183816    ACCT:
RALEIGH, NC 27675-9006                                CLAIM #: 0033    COMMENT:
NC DEPARTMENT OF JUSTICE                                       $0.00   NOTICES ONLY
FOR NC DEPARTMENT OF REVENUE                              INT: .00%    NOT FILED
POST OFFICE BOX 629                                 NAME ID: 217981    ACCT:
RALEIGH, NC 27602-0629                                CLAIM #: 0008    COMMENT: REP:DURHAM COUNTY TAC
                                                                       COLLECTOR
NC DEPARTMENT OF JUSTICE                                       $0.00   NOTICES ONLY
FOR NC DEPARTMENT OF REVENUE                              INT: .00%    NOT FILED
POST OFFICE BOX 629                                 NAME ID: 217981    ACCT:
RALEIGH, NC 27602-0629                                CLAIM #: 0014    COMMENT: REP:NC DEPT OF REV
NC DEPARTMENT OF REVENUE                                   $1,395.45   PRIORITY
BANKRUPTCY UNIT/OFFC SERV DIV                             INT: .00%
P O BOX 1168                                          NAME ID: 402     ACCT: 2577
RALEIGH, NC 27602-1168                                CLAIM #: 0013    COMMENT: 2009,2010 INCOME TAXES
NC DEPARTMENT OF REVENUE                                    $506.62    UNSECURED
BANKRUPTCY UNIT/OFFC SERV DIV                            INT: .00%
P O BOX 1168                                          NAME ID: 402     ACCT: 2577
RALEIGH, NC 27602-1168                               CLAIM #: 10013    COMMENT: 2009,2010 INCOME TAXES
PREMIER BANKCARD/CHARTER                                    $416.66    UNSECURED
P O BOX 2208                                             INT: .00%
VACAVILLE, CA 95696                                 NAME ID: 82616     ACCT: 1369
                                                     CLAIM #: 0021     COMMENT:
PRIVATE DIAGNOSTIC CLINIC, PLLC                                $0.00   UNSECURED
5213 SOUTH ALSTON AVENUE                                  INT: .00%    NOT FILED
DURHAM, NC 27713                                    NAME ID: 210720    ACCT: 5061
                                                      CLAIM #: 0025    COMMENT:
QUANTUM3 GROUP LLC AS AGENT FOR                            $1,839.49   UNSECURED
MOMA FUNDING LLC                                          INT: .00%
P O BOX 788                                         NAME ID: 224197    ACCT: 3946
KIRKLAND, WA 98083                                    CLAIM #: 0026    COMMENT: APPLIED CARD
QUANTUM3 GROUP LLC AS AGENT FOR                               $44.50   UNSECURED
COMENITY BANK                                             INT: .00%
P O BOX 788                                         NAME ID: 237199    ACCT: 3809
KIRKLAND, WA 98083                                    CLAIM #: 0028    COMMENT: LANE BRYANT
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NAME & ADDRESS OF CREDITOR                              AMOUNT        CLASSIFICATION
QUANTUM3 GROUP LLC AS AGENT FOR                             $969.05   UNSECURED
MOMA FUNDING LLC                                         INT: .00%
P O BOX 788                                        NAME ID: 224197    ACCT: 2914
KIRKLAND, WA 98083                                   CLAIM #: 0030    COMMENT: APPLIED BANK
REGIONAL ACCEPTANCE CORP                                $11,531.06    VEHICLE
BKRUPTCY SECT/100-50-01-51                             INT: 5.25%
P O BOX 1847                                       NAME ID: 98747     ACCT: 9531
WILSON, NC 27894-1847                               CLAIM #: 0006     COMMENT: 2007 CHRYSLER 300
SMITH DEBNAM NARRON DRAKE SAINTSING                           $0.00   NOTICES ONLY
& MYERS, L.L.P                                           INT: .00%    NOT FILED
P.O. BOX 26268                                     NAME ID: 200825    ACCT:
RALEIGH, NC 27611                                    CLAIM #: 0005    COMMENT: REP:LVNV FUNDING LLC
THE HONORABLE ERIC HOLDER                                     $0.00   NOTICES ONLY
U.S. DEPARTMENT OF JUSTICE                               INT: .00%    NOT FILED
950 PENNSYLVANIA AVE. NW                           NAME ID: 231054    ACCT:
WASHINGTON, DC 20530-0001                            CLAIM #: 0011    COMMENT: REP:IRS
TRANS UNION CORPORATION                                       $0.00   NOTICES ONLY
P.O. BOX 2000                                            INT: .00%    NOT FILED
CRUM LYNNE, PA 19022-2000                          NAME ID: 183823    ACCT:
                                                     CLAIM #: 0034    COMMENT:
TRUSTEE SERVICES OF CAROLINA, LLC                             $0.00   NOTICES ONLY
C/O BROCK & SCOTT, PLLC                                  INT: .00%    NOT FILED
5431 OLEANDER DRIVE                                NAME ID: 209050    ACCT:
WILMINGTON, NC 28403                                 CLAIM #: 0002    COMMENT: REP:BOA HOME LOANS
US ATTORNEY'S OFFICE (MD)**                                   $0.00   NOTICES ONLY
MIDDLE DISTRICT                                          INT: .00%    NOT FILED
POST OFFICE BOX 1858                               NAME ID: 217987    ACCT:
GREENSBORO, NC 27502-1858                            CLAIM #: 0012    COMMENT: REP:IRS
WELLS FARGO                                                   $0.00   UNSECURED
CENTRAL BANKRUPTCY DEPARTMENT                            INT: .00%    NOT FILED
PO BOX 13765                                       NAME ID: 222244    ACCT: 5589
ROANOKE, VA 24037                                    CLAIM #: 0027    COMMENT:

TOTAL:                                                   $63,658.81

JOHN T ORCUTT                                                 $0.00   ATTORNEY FEE
6616-203 SIX FORKS ROAD
RALEIGH, NC 27615




                                                                      RICHARD M. HUTSON, II
                                                                      P. O. BOX 3613
                                                                      DURHAM, NC 27702-3613
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                               NOTICE OF FILING OF REPORT OF FILED CLAIMS

    The foregoing Report of Filed Claims has been filed with the Bankruptcy Court based on an audit of claims filed in the
Trustee’s office. The claims are allowed unless objection is made by the Debtor or other party in interest.

    Any objection to a claim should be filed in writing with the Bankruptcy Court at the address below and a copy must be
served on the Trustee:

                                       Clerk, U.S. Bankruptcy Court
                                       101 S. Edgeworth Street
                                       P.O. Box 26100
                                       Greensboro, NC 27420-6100

    If an objection is filed, a hearing will be scheduled before the Court. The Trustee will continue making disbursements
on the claims unless an objection is filed.




Date: 03/12/2013                                                         OFFICE OF THE CHAPTER 13 TRUSTEE

                                                                    By: /s/ Brenda Nelms
                                                                        Clerk
                                                                        Chapter 13 Office
                                                                        P. O. BOX 3613
                                                                        DURHAM, NC 27702-3613


cc: Debtor
    Attorney for Debtor - Electronic Notice
